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 1                          DECLARATION OF JENNIFER HIRSCH

 2         I, Jennifer Hirsch, declare as follows:

 3         1.   I am a Special Agent (“SA”) with the Federal Bureau of

 4   Investigation.     I have knowledge of the facts set forth herein and

 5   could and would testify to those facts fully and truthfully if called

 6   and sworn as a witness.

 7         2.   I have reviewed several digital devices belonging to

 8   defendant Chance Brannon (“defendant”).         Based on my review of

 9   defendant’s communications, I am aware that defendant frequently used

10   the expression “88,” which I know from my training and experience to

11   be a coded term for “Heil Hitler” based on H being the eighth letter

12   of the alphabet.     Defendant also used the expression “1488,” which I

13   know from my training and experience to be a reference to the “14

14   words,” a white supremacist slogan, combined with the coded term for

15   “Heil Hitler.”

16         3.   I have also reviewed several digital devices belonging to

17   defendant’s codefendant, Tibet Ergul (“Ergul”).          Attached as Exhibit

18   A is a true and correct copy of an image retrieved from one of

19   Ergul’s devices, with redactions applied to the faces of third

20   parties.

21         4.   I have reviewed photographs taken during a court-authorized

22   search of defendant’s home, which occurred simultaneously with his

23   arrest in this case.      Those photographs reflect various materials

24   found in defendant’s room.       Attached as Exhibit B are true and

25   correct copies of photographs of some of the materials found in

26   defendant’s room.

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 1           5.   Attached as Exhibit C is a true and correct copy of

 2   excerpts of a conversation I retrieved from defendant’s phone, with

 3   redactions applied to protect personally identifying information.

 4           6.   Attached as Exhibit D is a true and correct copy of

 5   excerpts of a conversation I retrieved from defendant’s phone, with

 6   redactions applied to protect personally identifying information.

 7           I declare under penalty of perjury under the laws of the United

 8   States of America that the foregoing is true and correct and that

 9   this declaration is executed at Los Angeles, California, on April 2,

10   2024.

11                                            /s/

12                                           FBI SPECIAL AGENT JENNIFER HIRSCH
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